                                   IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                            CHARLOTTE DIVISION
                                    CIVIL ACTION NO. 3:20-CV-00400-RJC-DSC


              RAKIYA NESBIT,                      )
                                                  )
                          Plaintiff,              )
                                                  )
              v.                                  )
                                                  )                            ORDER
              YASMINE M. RATTIGAN,                )
                                                  )
                          Defendant.              )
              ____________________________________)


                       Upon motion to remand by Plaintiff Rakiya Nesbit, pursuant to 28 U.S.C.

              § 1447(c), and consent of Defendant Yasmine M. Rattigan to the motion, the Court

              determines that remand of the Action to the General Court of Justice, Superior Court

              Division, Mecklenburg County, North Carolina is appropriate without the necessity

              of ruling on the arguments made by the Plaintiff in support of the Motion to Remand.

              The parties have determined that the amount in controversy is less than $75,000 and

              have therefore brought this consent motion to remand, which this Court will grant.

                       IT IS HEREBY ORDERED that:

                       1. Plaintiff’s Motion to Remand, (Doc. No. 5), is GRANTED;

                       2. that the cause is remanded to the General Court of Justice, Superior Court

                             Division, Mecklenburg County, North Carolina for further proceedings; and

                       3. the Clerk of Court is directed to close this case.


Signed: September 25, 2020




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